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   13                        UNITED STATES DISTRICT COURT
   14                       CENTRAL DISTRICT OF CALIFORNIA
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   16    GREGORY BLATT,                        Case No. 2:19-cv-07046-MWF-FFMx
   17                       Plaintiff,         ORDER GRANTING JOINT
                                               STIPULATION FOR DISMISSAL
   18           v.                             WITH PREJUDICE
   19    ROSETTE PAMBAKIAN and
         SEAN RAD; and DOES 1 – 10,
   20    inclusive
   21                       Defendants.
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    1   IT IS HEREBY GRANTED THAT:
    2           1.      Plaintiff’s entire action against defendants Rosette Pambakian and Sean
    3   Rad, as captioned above, including all causes of action alleged therein, is hereby
    4   dismissed with prejudice; and
    5           2. All parties shall bear their own attorneys’ fees and costs.
    6           The stipulation is approved.      Plaintiff’s entire action against defendants
    7   Rosette Pambakian and Sean Rad, as captioned above, including all causes of action
    8   alleged therein, is hereby dismissed with prejudice.
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   10   Dated: June 24, 2022                     ________________________________
   11
                                                 MICHAEL W. FITZGERALD
                                                 United States District Judge
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